Holly Johanknecht, AK Bar #0511103
Meg K. Allison, AK Bar #0511091
DISABILITY LAW CENTER OF ALASKA
3330 Arctic Blvd., Suite 103
Anchorage, AK 99503
hollyj@dlcak.org
mallison@dlcak.org
Telephone: (907) 565-1002
Fax: (907) 565-1000
Attorneys for Plaintiff

                          UNITED STATES DISTRICT COURT

                                  DISTRICT OF ALASKA


Disability Law Center of Alaska, Inc.,
                                     )
              Plaintiffs             )
                                     )
vs.                                  )             COMPLAINT
                                     )
North Star Behavioral Health System, )
                      Defendant.     )             Case No.
____________________________________)

                                         INTRODUCTION

    1. Plaintiff Disability Law Center of Alaska brings this action to challenge the Defendant

        North Star Behavioral Health System’s (“North Star”) refusal to release to Plaintiff

        documents relating to an incident of probable abuse and neglect that occurred at

        Defendant’s facility. Federal law provides that such documents must be released to

        Plaintiff so it can carry out its mandate to investigate incidents of alleged abuse and

        neglect.

                                  JURISDICTION AND VENUE

    2. This Court has jurisdiction over this action pursuant to 28 U.S.C. § 1331. This action is

        authorized by 28 U.S.C. §§ 2201 – 02, 42 U.S.C. §§ 10801 – 10827.




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    3. Venue is appropriate in this district pursuant to 28 U.S.C. § 1391(b) as all of the events

        and omissions complained of occurred in this district.

                                            PARTIES

    4. Plaintiff Disability Law Center of Alaska is the protection and advocacy (“P&A”) system

        for the State of Alaska. P&As are a nationwide network of disability rights agencies

        which are mandated, under various interrelated federal statutory programs, to provide

        legal representation and other advocacy services on behalf of all individuals with

        disabilities. Pursuant to 42 U.S.C. § 6042(a)(2)(A)(i), P&As are authorized to “pursue

        legal, administrative, and other appropriate remedies or approaches to ensure the

        protection of, and advocacy for, the rights of such individuals within the State[.]” P&As

        are also authorized “to investigate incidents of abuse and neglect of individuals with

        developmental disabilities if the incidents are reported to the system or if there is

        probable cause to believe that the incidents occurred.” 42 U.S.C. § 6042(a)(2)(B). The

        Disability Law Center of Alaska has been designated by the State of Alaska to receive

        federal funds for advocacy activities pursuant to the Developmental Disabilities and Bill

        of Rights Act, 42 U.S.C. §§ 6000, et seq. The Disability Law Center of Alaska is a

        nonprofit corporation duly organized in accordance with the laws of the State of Alaska.

        Its principal place of business is in Anchorage, Alaska. The Disability Law Center of

        Alaska operates permanent offices in Anchorage, Juneau, Bethel and Fairbanks.

    5. Defendant North Star Behavioral Health System provides mental health services for

        children and adolescents. North Star maintains the facility at which the incident involving

        B.C. occurred.




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                                 APPLICABLE LAW AND FACTS

         A. The Protection and Advocacy for Individuals with Mental Illness Act of 1986
            42 U.S.C. §§ 10801 et seq.

    6. The PAIMI Act authorizes protection and advocacy (P & A) systems to advocate for the

         rights of individuals with mental illness and to investigate incidents of abuse and neglect.

         42 U.S.C. §§ 10801 et seq.

    7. Additionally, the PAIMI Act authorizes a P&A agency to access “all records” of an

         individual with a mental illness. 42 U.S.C. 10805(a)(4).

    8.   42 U.S.C. § 10806(b)(3)(A) defines the term records as,

                The term “records” includes reports prepared by any staff of a
                facility rendering care and treatment or reports prepared by an
                agency charged with investigating reports of incidents of abuse,
                neglect, and injury occurring at such facility that describe
                incidents of abuse, neglect, and injury occurring at such facility
                and the steps taken to investigate such incidents, and discharge
                planning records.

         B. Facts

    9. B.C. is a minor diagnosed with a mental illness and other disabilities. At the time of the

         incident in question, B.C. was a patient at North Star’s acute care facility.

    10. On or about February 14, 2007, North Star patient B.C. was involved in an altercation

         involving North Star staff at the North Star acute care facility.

    11. On or about February 15, 2007, B.C.’s mother filed a complaint with North Star

         regarding the incident involving her son.

    12. In a letter dated February 22, 2007, North Star informed B.C.’s mother that they had

         investigated her complaint. In that letter North Star claimed that they took a number of

         actions as a result of her complaint including:

            a. An interview of B.C.;

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            b. Interviews of witnesses identified by B.C.;

            c. Interviews of staff members working on the unit on the day of the incident; and,

            d. A review of video surveillance recordings from the unit.

    13. The letter dated February 22, 2007 further stated the results of their investigation into her

        complaint:

            a. That they were unable to substantiate the complaint,

            b. That her concerns regarding staff interactions would be forwarded to the Director

                of Nursing, and

            c. That any action taken as a result of the information is considered a personnel

                matter and would not be available to her.

    14. On or about February 22, 2007, DLC was contacted regarding the incident.

    15. On March 6, 2007, B.C.’s mother signed a release for DLC for the purpose of facilitating

        the investigation into the incident.

    16. In a letter dated March 8, 2007, addressed to North Star CEO James Shill, DLC requested

        a number of records, including any internal investigation and supporting documentation

        conducted by the facility regarding the incident.

    17. In a letter dated March 9, 2007, Ms. Laura McKenzie Director of Quality

        Improvement/Risk Management, stated that the facility planned to cooperate with DLC’s

        request and the requested records were being collected and would be provided to DLC by

        March14, 2007.

    18. In a letter dated March 19, 2007, Ms. McKenzie informed DLC of defendant’s refusal to

        provide the requested investigation records stating that counsel for defendant advised the

        non-disclosure claiming that the requested records were “peer review”.



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    19. In a letter dated March 21, 2007, DLC contacted counsel for defendant. In that letter,

        DLC provided citations for DLC’s federal access authority and renewed its request for

        the investigation records.

    20. In a letter dated March 22, 2007 counsel for North Star responded and again refused to

        provide the requested records continuing to claim the requested records were “peer

        review”, protected by Alaska statute and therefore exempt from DLC’s statutory

        authority.

    21. In a letter dated March 29, 2007, DLC informed defendant that the requested records

        were not “peer review” records and requested counsel for defendant explain how the

        requested records fell within the state statute cited by counsel for defendant and informed

        counsel of four circuit court decisions granting a P&A agency access to “peer review”

        records.

    22. In a letter dated April 3, 2007, counsel for defendant responded and again refused to

        provide the requested records.

    23. Despite numerous written and verbal requests from DLC and its counsel to defendants for

        the requested records, defendants refuse to provide documents to which DLC has

        statutorily authorized access.

    24. Defendant’s refusal to provide DLC with all the requested records in this matter prevents

        DLC from fully performing its statutory duty to investigate incidents of suspected abuse,

        neglect and injury.

                                         CLAIM FOR RELIEF I

    25. Paragraphs 1-25 are incorporated herein by reference.




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    26. Pursuant to the Protection and Advocacy for Individuals with Mental Illness Act “PAIMI

        Act” 42 U.S.C. §§ 10805 et seq., DLC is entitled to review and obtain copies of records

        of persons with mental illness and other disabilities.1

    27. DLC, through its employees and counsel, has made repeated requests for the records of

        defendant’s investigation of the incident involving B.C., but defendant has refused to

        provide them.

    28. Defendant’s actions and inactions in refusing to provide DLC with all requested records

        relating to the incident involving B.C. violates DLC’s statutory rights under the PAIMI

        Act, 42 U.S.C. §§ 10801 et seq.

                                           CLAIM FOR RELIEF II

    29. Paragraphs 1-29 are incorporated herein by reference.

    30. A.S. § 18.23.030 requires that the records of a review organization shall be held in

        confidence. The term “review organization” is defined by A.S. § 18.23.070(5).

    31. DLC       requested     records    regarding      any    internal investigation and supporting

        documentation conducted by the facility regarding the incident involving B.C.

    32. The records requested by DLC are not “peer review” records as asserted by Defendant, as

        they do not meet the requirements of Alaska law to be kept confidential as records of a

        review organization under A.S. § 18.23.030.

    33. Defendant’s refusal to provide DLC with all requested records relating to the incident

        involving B.C. violates DLC’s statutory rights under the PAIMI Act, 42 U.S.C. §§ 10801

        et seq.



1
 The Disability Rights Center of Alaska has additional statutory authority under the Developmental Disabilities
Assistance and Bill of Rights Act of 2000, 42 U.S.C. §§ 15041 – 15045 and the Protection and Advocacy of
Individual Rights, 29 U.S.C. 794e.

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                                     REQUEST FOR RELIEF

    34. WHEREFORE, plaintiff requests:

            a. That the Court exercise jurisdiction over this action;

            b. That the Court order defendant to provide DLC with all reports, documents and

                records relating to the February 14, 2007 incident involving B.C.;

            c. That the Court enter a declaratory judgment, in accordance with 28 U.S.C. §

                2201, declaring the defendants to be in violation of the PAIMI Act for refusing

                Plaintiff prompt access to all records relating to B.C. and preventing DLC from

                fully performing its statutory duty to investigate incidents of suspected abuse and

                neglect of persons with mental illness in violation of the PAIMI Act;

            d. In the alternative, that the Court enter a declaratory judgment in accordance with

                28 U.S.C. § 2201, declaring that the type of internal investigation and related

                documents requested by DLC are not records of a review organization under

                Alaska law and that Defendant’s refusal to provide such records to DLC is in

                violation of the PAIMI Act;

            e. That the Court issue a permanent injunction against the Defendant to prevent

                Defendant from engaging in the conduct complained of herein, for all future

                requests for records made by Plaintiff in accordance with the PAIMI Act; and,

            f. That the Court issue such other relief as may be just, equitable and appropriate,

                including an award of plaintiff’s reasonable attorney’s fees and expenses.




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Dated: April 26, 2007                      Respectfully submitted,

                                           s/ Holly Johanknecht____________________
                                           Holly Johanknecht, AK Bar #0511103

                                           s/ Meg K. Allison_______________________
                                           Meg K. Allison, AK Bar #0511091

                                           DISABILITY LAW CENTER OF ALASKA
                                           3330 Arctic Blvd., Suite 103
                                           Anchorage, AK 99503
                                           hollyj@dlcak.org
                                           mallison@dlcak.org
                                           Telephone: (907) 565-1002
                                           Fax: (907) 565-1000
                                           Attorneys for Plaintiff



Certificate of Service

I hereby certify that on the 26th day of
April 2007, a copy of this document
was served by Courier on:

Linda Johnson
Clapp, Peterson
711 H Street, Suite 620
Anchorage, Alaska 99501


/s Holly Johanknecht
Holly Johanknecht




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